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Case 2:05-cr-20244-.JL)B L)ocumentt Fiieu' O?'/ZL,W que t

 

 

 

 

 

 

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(Rev. 2/88) ( 1203€]? 00006 l ‘
TRANSFER oF JURIsDICTIoN Fn_Ee er 1_%;__ D.c. .\
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NAME AND ADDREss OF sUPERvIsED RELEASEE: DIsTRlCT _ Drvisro
SouthemlHM£diM~D We?t t f "
Derwand shorter , l ` _
4073 Royal Crest Drive NAME OF MMMM v`"
Memphis’ TN 38115 . The Honorable Sandra S. Becl<with
Chief United States District Judge
DATES OF SUPERVISED RELEASE: FROM TO
January 31, January 30,
2005 2008

 

 

 

 

OFFENsEs

l. Conspiracy to Comrnit Crirnes Against the United States, 18:371
4. Interstate Transportation of Stolen Property, 18:2314

5. Receipt and Sale of Stolen Property, 18:2315 and 2.

 

PART l - ORDER TRANSFERRING JURISDICTION

 

UNITED sTATEs D!sTRICT COURT FOR THE “Southern Dism'ct of Ohio"

 

 

IT IS HEREBY ORDERED that pursuant to`l 8 U.S.C. 3605 the jurisdiction of the supervised releasee named above
be transferred With the records of the Court to the United States District Court for the Western Distriot of Tennessee upon
that Court’s order of acceptance ofjurisdiction. This Court hereby expressly consents that the period of supervised release
may be changed by the Distriet Court to which this transfer is made without further inquiry of this Court.*

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Date Chieféred States D(trz'c! Judge

 

 

 

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED srArEs Dlsrmcr CoURT FoR rHE Western District of Tennessee

 

IT IS HEREBY ORDERED that jurisdiction over the above~named supervised releasee be accepted and
assumed by this Court from and after the entry of this order.

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Ejective Date /Cétea};tates Distrz`ct Judge
\__,/

 

 

 

This document entered on the docket sheet |n compliance /
with ante 55 and/or 32(b) FaorP on '7 * 5

 

ITRSIC COURT - WESTERN D's'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l in
case 2:05-CR-20244 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

